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                                                                              No. l4-390C
                                                                         (Filed: May 16,2014)                                         FILED
*:i*** **r.** * ++** *** *t * '1.,t * *** ***                           ++*         ******                                             MAY    16   2014

WILLIAM H. SEALS-BEY,
a.rkla WILLIAM H. BROOKS.                                                                                                          ,'di8l'-'Sh?'f;'
                                               Plaintiff,                                       *   Pro Se Plaintiff; Dismissal for Lack of
                                                                                                *   Jurisdiction; Application to Proceed In
                                                                                                *   Forma Pauperis

THE T]NITED STATES,

                                               Defendant.                                       *
,t   ****   :t *,1.   ***t*   :f   **   :t   * {.'t * * *,1.'},t't *'} * *'*   :}   *   rr   ***+


William H. Seals-Bev.                           a,/k/a   William H. Brooks, Washington, DC, pro                       se.


                                                                    OPINION AND ORDER

SWEENEY, Judge

         On May 6, 2014, plaintiff in the above-captioned case, appearing p1q se, filed a complaint
and an application 10 proceed in forma pauperis. Plaintiff, who is currently incarcerated in Pine
Knot, Kentucky, contends that he has suffered "unjust conviction and imprisonment." Compl. l.
He alleges that the indictment that was filed against him in the Superior Court of the District of
Columbia was "transferred" to the United States District Court for the District of Columbia. Id.
Plaintiff claims that this alleged "transfer" was invalid, and that his conviction should have
therefore been dismissed. Id. He furrher alleges that the govemment engaged in prosecutorial
misconduct, fabrication ofevidence, and coercion of witnesses when prosecuting him. Ld. at 4.
Plaintiff states that his Fifth and Sixth Amendment rights have been violated, that he has been
deprived ofhis rights to due process and to a speedy trial, and that he has been targeted with
intentional infliction of emotional distress. Id. This court lacks jurisdiction to entertain
plaintiff s claims and must therefore dismiss his complaint.

        Whether the court has jurisdiction to decide the merits of a case is a threshold matter.
See Steel Co. v. Citizens for a BetterEnv't, 523 U.S. 83,94-95 (1998). "Without jurisdiction the
court cannot proceed at all in any cause. Jurisdiction is power to declare the law, and when it
ceases to exist, the only function remaining to the court is that ofannouncing the fact and
dismissing the cause," Ex parte McCardle, 74 U.S. (7 Wall.) 506, 514 (1868). The parties or the
couft on its own initiative may challenge the existence of subject matter jurisdiction at any time.
Folden v. United Srales,379 F.3d 1344, l3S4 (Fed. Cir. 2004).
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           Further, the ability ofthe United States Court ofFederal Claims ("Court ofFederal
 Claims") to entertain suits against the United States is limited. "The United States, as sovereign,
 is immune from suit save as it consents to be sued." United States v. Sherwood, 312 U.S. 584,
 5 86 ( I 941). The waiver of immunity "cannot be implied but must be unequivocally expressed."

United States v. King, 395 U.S. l,4 (1969). The Tucker Act, the principal statute governing the
jurisdiction of this court, waives sovereign immunity for claims against the United States not
 sounding in tort that are founded upon the United States Constitution, a federal statute or
regulation, or an express or implied contract with the United States. 28 U.S.C. $ 1a91(a)(l)
(2006). However, the Tucker Act is merely a jurisdictional statute and "does not create any
substantive right enforceable against the United States for money damages." United States v.
Testan,424 U.S. 392,398 (1976). The substantive right must appear in another source of law,
such as a "money-mandating constitutional provision, statute or regulation that has been violated,
or an express or implied contract with the United States." Loveladies Harbor. Inc. v. United
States, 27 F.3d 1545, 1554 (Fed. Cir. 1994) (enbanc).

         In this case, plaintiffdoes not allege any claims based on a contract with the United
States or a money-mandating constirutional provision, federal statute, or federal regulation.
While the court has jurisdiction over takings claims arising under the Fifth Amendment, plaintiff
does not allege a taking here. See,9g., Allicock v. United States,2012 WL 5995245, *l (Fed.
Cl. Nov. 29,2012). The court also does not have jurisdiction to hear plaintiff s Sixth
Amendment claims. Dupre v. United States,229 Cr.CL.706,706 (1981) (per curiam). Further,
because the court lacks jurisdiction to hear claims sounding in tort, it would not be able to
enteriain plaintiffs claim of intentional infliction of emotional distress. 28 U.S.C. $ lagl(a)(l);
DuWe,229 Ct.Cl.at706. Plaintiffalso asserts that he has been subjected to due process
violations, but the court lacks jurisdiction over such claims, as well. smith v. united States, 709
F. 3d I I 14, 1116 (Fed. Cir. 2013) (holding that the Court ofFederal Claims lacks jurisdiction to
hear claims for due process violations under the Fifth Amendment); LeBlanc v. united states, 50
F.3d 1025, 1028 (Fed. Cir. 1995) ("[T]he Due Process Clauses ofthe Fifth and Fourteenth
Amendments . . . [are not] a sufficient basis for jurisdiction because they do not mandate
payment of money by the govemment.").

        Additionally, plaintiff alleges that he has been deprived of his rights pursuant to the
 Speedy Trial Act, and that his conviction involved prosecutorial misconduct, fabrication of
evidence, and coercion ofwitnesses. compl.4. However, "[t]he court of Federal claims does
not have the power . . . to review in detail the facts surrounding a conviction or imprisonment."
Zakiya v. United States, 79 Fed. C|.231,234-35 (2007), affd, 277 F. App'x 985 (Fed. Cir.
2008) (per curiam). Indeed, the court possesses no jurisdiction whatsoever over criminal
matters. Joshua v. united states,17 F.3d378,379 (Fed. cir. 1994); Kania v. united states,650
F.2d264,268 (Ct. Cl. 1981) (noting that "the role of the judiciary in the high function of
enforcing and policing the criminal law is assigned to the courts of general jurisdiction and not to
this court"). Moreover, this court does not have jurisdiction to review the decisions of district
courts. vereda. Ltd. v. United States,271 F .3d 1367, 1375 (Fed. cir. 2001). The proper forum
for resolving such issues is the district court in which they arose, or the appellate c;urt that
reviews the district court's decisions. See, gg., united States v. Rojas-contreras ,474 u.s.231,
233-34 (1985) (discussing a defendant's attempts to vindicate his rights under the Speedy Trial
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Act before the trial court, the appellate court, and finally the Supreme Court). Consequently, all
of plaintiff s claims fail for a lack ofjurisdiction.

        Finally, plaintifffiled, concunent with his complaint, an application to proceed in forma
pauperis. Pursuant to 28 U.S.C. $ 1915, courts of the United States are permitted to waive filing
fees and security under certain circumstances.r See 28 U.S.C. $ 1915(a)(1); see also Haves v.
United States, 71 Fed. Cl. 366,366-67 (2006) (concluding thar 28 U.S.C. $ 1915(a)(1) applies to
both prisoners and nonprisoners alike). Plaintiffs wishing to proceed in forma pauperis must
submit an affidavit that lists all oftheir assets, declares that they are unable to pay the fees or
give the security, and states the nature ofthe action and their beliefthat they are entitled to
redress. 28 U.S.C. $ 1915(a)(l). Further, prisoners must file "a certified copy ofthe trust fund
account statement (or institutional equivalent) for the prisoner for the 6-month period
immediately preceding the filing of the complaint. . . obtained from the appropriate official of
each prison which the prisoner is or was confined." Id. $ 1915(a)(2).

         Plaintiffhas substantially satisfied the requirements set forth in section l9l5(a). The
court therefore grants plaintiffs application to proceed in forma p4gpg{g and waives plaintiffs
prepayment ofthe filing fee. Notwithstanding the court's waiver, prisoners seeking to proceed in
forma pauperis are required to pay, over time, the filing fee in full. ld. $ 1915(b). Thus, plaintiff
shall be assessed, as a partial payment ofthe court's filing fee, an initial sum of twenty percent of
the greater of(l) the average monthly deposits into his account, or (2) the average monthly
balance in his account for the six-month period immediately preceding the filing ofhis
complaint. Id. $ 1915(bX1). Thereafter; plaintiff shall be required to make monthly payments of
twenty percent ofthe preceding month's income credited to his account. Id. g 1915(b)(2). The
agency having custody ofplaintiff shall forward payments from plaintiffs account to the Clerk
of the Court ofFederal Claims each time the account balance exceeds $10 and until such trme as
the filing fee is paid in full. Id.

       In sum, the court GRANTS plaintiff s application to proceed in forma pauperis and
 DISMISSES plaintiff s complaint for lack ofjurisdiction. The clerk is directed to enter
judgment accordingly.

        IT IS SO ORDERED.




         ' While the Court of Federal Claims is not generally considered to be a "court of the
 United States" within the meaning of title twenty-eight of the United States Code, the court has
jurisdiction to gant or deny applications to proceed in forma pauperis, See 28 U.S.C. 2503(d)
                                                                                        $
 (deeming the Court of Federal Claims to be "a court of the United States" for the purposes of28
 U.S.C. $ l9l5); see also Matthews v. United Stales,72 Fed,. C\.274,277 -78 (2006) (recognizing
that Congress enacted the Court ofFederal Claims Technical and Procedural Improvements Act
of 1992, authorizing the court to, among other things, adjudicate applications to proceed in forma
pauperis pursuant to 28 U.S.C. $ 1915),
